                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:
                                                             Chapter 13
BRANDON HEITMANN,                                            Case No. 24-41956-MAR
                                                             Hon. Mark A. Randon
                Debtor.
                                           /
MOHAMED SAAD,

         Plaintiff,
v.                                                           Adv. Pro. No. 24-04375-MAR
                                                             Hon. Mark A. Randon
BRANDON HEITMANN,

         Defendant.
                                                        /

ORDER GRANTING DEFENDANT BRANDON HEITMANN’S EX PARTE
  MOTION TO EXPEDITE THE HEARING DATE OF DEFENDANT’S
                       MOTIONS

         This matter having come before the Court upon the Defendant’s motion; and

the Court being otherwise duly advised in the premises;

         IT IS HEREBY ORDERED that Defendant’s Ex Parte Motion to Expedite

the Hearing Date of Defendant’s Motion is GRANTED.

         IT IS HEREBY ORDERED that the hearing for Defendant’s Motion to

Compel Complete Discovery, Motion to Strike Plaintiff’s Identified Experts, and

Motion to Adjourn Dates will be expedited and heard on May 5, 2025, at 2:00 p.m.




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All interested parties must call 1-202-503-1666 and use conference ID 231 911

059#.

        IT IS FURTHER ORDERED that any objections to Defendant’s Motion to

Compel Complete Discovery, Motion to Strike Plaintiff’s Identified Experts, and

Motion to Adjourn Dates must be filed on or before 5:00 p.m. on May 2, 2025.




Signed on April 25, 2025




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